               Case 5:19-sw-00062-JLT Document 6 Filed 02/27/24 Page 1 of 1

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   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
   IN THE MATTER OF THE SEARCH OF                      CASE NO. 5:19-SW-00062-JLT
11 7625 LORDSBURG DR., BAKERSFIELD, CA
   93309                                               ORDER TO UNSEAL
12

13
            Upon application of the United States of America and good cause having been shown,
14
            IT IS HEREBY ORDERED that the search warrant, search warrant application, and related
15
     documents in the above-captioned matter be, and are, hereby ordered unsealed.
16

17    Dated:    February 27, 2024
18                                                       The Honorable Christopher
                                                                   bl Ch  i    h D. Baker
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                                                         UNITED STATES MAGISTRATE JUDGE
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      ORDER TO UNSEAL
